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                                                                          United States Bankruptcy Court
                                                                              Southern District of Texas

                                                                                   ENTERED
                                                                                 June 21, 2024
                 IN THE UNITED STATES BANKRUPTCY COURT
                                                                              Nathan Ochsner, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

IN RE:                                      §
                                            §       CASE NO: 22-60043
FREE SPEECH SYSTEMS LLC,                    §
                                            §
           Debtor.                          §
                                            §
                                            §       CHAPTER 11

                             ORDER DISMISSING CASE
      For the reasons stated on the record at the hearing held on June 14, 2024, this
case is dismissed. It is further ORDERED:
      1.     The employment of all professionals retained in these chapter 11 cases
and the Subchapter V Trustee’s service is terminated. Except as otherwise set forth
below, the Debtor’s CRO shall have no further responsibilities with respect to the
Debtor’s operations.
      2.      The CRO is authorized to transfer control and signing authority with
respect to the Debtor’s bank accounts to Christopher R. Murray in his capacity as
the Chapter 7 Trustee for the bankruptcy estate of Alexander Jones, Case No. 22-
33553.
       3.      Final applications for compensation shall be filed no later than 14 days
after entry of this Order.
      4.       This Court shall retain exclusive jurisdiction over the following
matters:
            a. Adversary Proceeding No. 24-3038, Elevated Solutions Group, LLC v.
               Free Speech Systems LLC, et al.;

            b. Adversary Proceeding No. 23-3127, Free Speech Systems LLC v. PQPR,
               Limited Holdings LLC, et al.;

            c. Adversary Proceeding No. 22-3331, Neil Heslin, et al. v. Alex E. Jones,
               et al.; and

            d. Applications for approval of professional fees and expenses.

      5.       The Court retains jurisdiction to interpret and enforce this Order.


             August
             June     02, 2019
                  21, 2024
